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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )                   4:09CR3117
                                          )
              v.                          )
                                          )
TRAVES RUSH and MARCUS                    )               FINDINGS AND
SHORT,                                    )             RECOMMENDATION
                                          )
                     Defendants.          )


       Defendants Traves Rush (“Rush”) and Marcus Short (“Short”) have filed motions to
suppress evidence, including cash and plastic bank bags found in a vehicle they occupied
on October 6, 2008. Filing nos. 37 and 43. For the reasons set forth below, the respective
motions should be denied.


                                  STATEMENT OF FACTS


       On October 6, 2008, Lancaster County Sheriff’s Deputy Kirk Price was monitoring
radio traffic from his position in Northwest Lincoln, Nebraska. At approximately 12:15
p.m., Deputy Price heard a report regarding a robbery of a branch of the TierOne Bank (the
“Bank”) near 56th Street and Highway 2 in Lincoln. The report indicated that three black
males, at least one of which was wearing black pants, fled the Bank in a blue Chrysler
Lebaron. Later reports indicated the suspects abandoned the blue Lebaron and might be
traveling in a red vehicle.


       Upon hearing the initial reports of the robbery, Deputy Price proceeded to a gas
station at the intersection of 84th Street and Cornhusker Highway, a route commonly used
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to access Interstate 80; thus, a possible escape route.1 Shortly after arriving at the gas
station, Deputy Price observed three black males in a dark gray Chevrolet Caprice Classic
traveling east toward Interstate 80 on Cornhusker Highway. Deputy Price followed the
vehicle, but did not activate his lights or attempt to stop the vehicle. After Deputy Price
followed the vehicle for approximately one and a half miles, the vehicle turned south into
the parking lot of Novartis Pharmaceuticals Corporation (“Novartis”). Deputy Price
followed the vehicle into the Novartis parking lot. The defendants’ vehicle made a loop in
the parking lot and then stopped by the entrance to the main building at which point a black
male, later identified as Curtis Cotton (“Cotton”), exited the vehicle. The defendants’ gray
vehicle subsequently drove down a parking row perpendicular to the Novartis building and
pulled into a parking stall.


        Deputy Price pulled into the parking row where the gray vehicle had parked, but
stopped his vehicle prior to reaching the gray car, and in such a manner as to not prevent the
car from leaving. Deputy Price observed a second black male, later identified as defendant
Rush, exiting the parked vehicle and walking towards the entrance of the Novartis building.
Deputy Price exited his vehicle and asked Rush “Where they were going?” “Where they
were coming from?” and “What they were doing there?” Rush answered that he and his
companions were traveling to Omaha and that Cotton was going to visit his mother who
worked at Novartis.


        At approximately the same time as Deputy Price was questioning Rush, Cotton exited
the building and began walking toward Deputy Price, Rush, and the gray vehicle. As Cotton
exited the building, Deputy Price observed “a rolled up wad of currency or bills that was


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            Deputy Price and Officer Johnson testified that it is law enforcement procedure for officers to
watch areas with easy access to the interstate after a bank robbery has been reported.

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stuck in the top”of one of Cotton’s shoes. Deputy Price immediately grabbed the wad of
rolled up currency, placed it in his back pocket, and handcuffed Cotton.


       A second law enforcement officer, Lincoln Police Officer Mark Johnson, arrived at
Novartis and parked his squad car behind Deputy Price’s car during Deputy Price’s initial
encounter with Rush. When Officer Johnson observed Deputy Price detain Cotton, he
immediately detained Rush and placed him in the back of his squad car. Rush did not resist
and Deputy Johnson did not handcuff Rush.


       Upon observing Cotton and Rush being taken into custody, the final individual in the
car, later identified as Short, backed the gray vehicle out of the parking stall, and began to
flee the scene. Deputy Price stayed with Cotton while Officer Johnson entered his squad
car, activated his patrol lights, and began to chase the vehicle driven by Short. After a brief
chase in the parking lot, Short drove the gray vehicle back up the parking row that Deputy
Price’s car already occupied. Officer Johnson navigated his squad car behind Short’s
vehicle in the parking row, effectively trapping Short between the two squad cars. Short
stopped the gray car prior to reaching Deputy Price’s squad car, exited the vehicle while it
was still running, and fled on foot. Officer Johnson exited his squad car and chased Short.
Short was eventually apprehended and taken into custody.


       Lincoln police officer Larry Bratt, who was also monitoring radio traffic, arrived at
Novartis sometime after Short fled the parking lot. After the suspects were detained, Officer
Bratt was assigned to “process” the gray vehicle in which Cotton, Rush, and Short were
riding. From the outside driver’s side window of the vehicle, Officer Bratt observed “a lot
of folded up cash” and a “blue plastic bank bag”on the floorboard of the passenger’s side
front seat (Exs. 5, 6 & 104), a TierOne bank bag on the front seat (Exs. 105 & 108), and
black coveralls (Ex. 105). The driver’s side window was rolled down, and without placing

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his head inside the defendants’ vehicle, Officer Bratt photographed the items seen in the
front seat area of the vehicle. Officer Bratt then circled to the rear passenger side window,
and from that location, could see an opaque plastic bag containing cash on the floorboard
of the passenger’s side back seat (Ex. 7). Officer Bratt later opened the vehicle doors to
obtain better photographs of the items in the vehicle, but he testified that he did not need to
open the vehicle doors to see to the items of evidence. The items seen in the vehicle were
removed before transport to the impound lot because the front driver’s side window was
down and it was starting to rain.


                                    LEGAL ANALYSIS


       Defendants argue that the stop and subsequent search of the vehicle violated their
Fourth Amendment rights because the initial encounter with Deputy Price was an
impermissible investigatory stop and the subsequent warrantless search of the vehicle was
without probable cause; therefore, they argue, all evidence obtained from the search of the
car should be suppressed.


I.     The initial encounter.


       Defendants argue that the initial contact between the law enforcement officers and
the defendants amounted to an impermissible traffic stop because Deputy Price had no
reasonable suspicion to detain the defendants under the principles set forth in Terry v. Ohio,
392 U.S. 1 (1968) and its progeny.


       However, the principles of Terry are only implicated when the contact between the
law enforcement officers and a citizen arises to the level of a seizure. Not all interactions
between law enforcement officials and citizens involve a seizure of the person. See Terry

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v. Ohio, 392 U.S. at 19 n. 16 (1968); see also Florida v. Bostick, 501 U.S. 429, 434
(1991)(finding that mere police questioning does not constitute a seizure). Indeed, “[t]he
purpose of the Fourth Amendment is not to eliminate all contact between the police and the
citizenry, but ‘to prevent arbitrary and oppressive interference by enforcement officials with
the privacy and personal security of individuals.’ ”United States v. Mendenhall, 446 U.S.
544, 553-54 (1980)(quoting United States v. Martinez-Fuerte, 428 U.S. 543, 554 (1976)).
Law enforcement officers do not violate the Fourth Amendment by simply approaching a
citizen in a public place and asking him or her questions. See Bostick, 501 U.S. at 434.


       In evaluating whether an encounter between a law enforcement officer and a citizen
rises to the level of a Fourth Amendment seizure, “the crucial test is whether, taking into
account all of the circumstances surrounding the encounter, the police conduct would ‘have
communicated to a reasonable person that he was not at liberty to ignore the police presence
and go about his business.’ ” Bostick, 501 U.S. at 437, (quoting Michigan v. Chesternut, 486
U.S. 567, 569 (1988)). When conducting this analysis, examples of circumstances a court
will consider include “the threatening presence of several officers, the display of a weapon
by an officer, some physical touching of the person of the citizen, or the use of language or
tone of voice indicating that compliance with the officer’s request might be compelled.”
Mendenhall, 446 U.S. at 554.


       Applying these principles to the facts of this case, the initial encounter between
Deputy Price and the defendants did not amount to a seizure under the Fourth Amendment.
Deputy Price followed the vehicle in which the defendants were passengers into the public
parking lot at Novartis. There is no evidence that Deputy Price activated the patrol vehicle
lights or positioned his squad car in a manner that would have prevented the vehicle
occupied by the defendants from leaving. The evidence further demonstrates that when
Deputy Price approached Rush, he did so without drawing his weapon and simply posed

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questions to Rush in a normal tone of voice. In short, nothing in Deputy Price’s conduct
would lead a reasonable person to believe that he could not go about his business or ignore
the police presence. See Barry, 394 F.3d 1070, 1074-1077 (8th Cir. 2005) (finding no
seizure where a police officer knocked on the window of a parked car and attempted to
question the occupants); United States v. Dockter, 58 F.3d 1284, 1286 (8th Cir. 1995)
(finding no seizure where a law enforcement officer activated his warning lights and pulled
in directly behind a vehicle parked on the side of a road and questioned the occupants);
United States v. Angell, 11 F.3d 806, 809-10 (8th Cir. 1993) (abrogated on other
grounds)(finding no seizure where a law enforcement officer approached a car on a public
road and told the occupant to “stay there,” without activating his patrol lights, blocking the
pathway of the citizen’s car, or drawing his weapon).


II.    The seizure of evidence.


       Defendants further argue that the evidence should be suppressed because it was
procured through a warrantless search. “It is well settled under the Fourth and Fourteenth
Amendments that a search conducted without a warrant issued upon probable cause is per
se unreasonable . . . subject only to a few specifically established and well-delineated
exceptions.” Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973). However, when
objects are in plain view of an officer, no Fourth Amendment search has occurred. “It is
settled that an officer, without a warrant, may seize an object in plain view provided the
officer is lawfully in position from which he or she views the object, the object’s
incriminating character is immediately apparent, and the officer has a lawful right to access
the object.” United States v. Bynum, 508 F.3d 1134, 1137 (8th Cir. 2007) (quoting United
States v. Bustos-Torres, 396 F.3d 935, 944 (8th Cir. 2005)). An individual who parks a car
with transparent windows on private property “does not have a reasonable expectation of
privacy in the visible interior of the car.” See United States v. Hatten, 68 F.3d 257, 260 (8th

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Cir. 1995)(citing Texas v. Brown, 460 U.S. 730, 740 (1983)). Because the requirements of
the plain view exception are met in this case, the law enforcement officers validly seized the
cash and other items of evidence from the vehicle.


        Defendants argue that the law enforcement officials improperly attempted to prevent
Short from leaving in the vehicle, thus leading to an impermissible search of the vehicle. It
is true that if an officer first stops a car, the initial stop must be legal for the plain view
exception to apply. See United States v. Wilson, 524 F.2d 595 (8th Cir. 1975)(noting that
the “initial intrusion” of the law enforcement officer must be lawful for a search under the
plain view doctrine to be valid). In this case, the law enforcement officials had the requisite
reasonable suspicion to stop the vehicle that Short was driving.


        A law enforcement officer may conduct a brief investigatory stop if the officer has
a reasonable, articulable suspicion that the individual is involved in criminal activity. See
Terry v. Ohio, 392 U.S. 1, 30 (1968). To satisfy the Fourth Amendment, the officer must be
able to articulate some minimal, objective justification for a Terry stop. See United States
v. Walker, 494 F.3d 688, 691 (8th Cir. 2007).


        In this case, given the totality of the circumstances, the officers were justified in
detaining Rush and stopping the vehicle that Short was driving. Rush, Short, and Cotton
met the general description of the suspects who robbed the Bank. They were spotted shortly
after the robbery was reported at a location which was a potential escape route leading out
of the city.2 See United States v. Martinez, 462 F.3d 903, 908 (8th Cir. 2006)(finding



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            The defendants make much of the fact that the law enforcement reports indicated that the suspects
might be traveling in a red vehicle. However, the suspects were already believed to have changed cars once.
Thus, it was reasonable for the law enforcement officers to investigate non-red vehicles.

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reasonable suspicion where an individual met the general description of a bank robbery
suspect and was seen in an area near the bank). Deputy Price spotted a roll of U.S. currency
laying loosely atop Cotton’s untied high-top shoes. Additionally, in Short’s case he
attempted to flee once he saw Cotton and Rush being detained. Short’s flight, when
considered with all of the factors present in this case, provided further reasonable suspicion
on the part of the law enforcement officers to stop the vehicle. See United States v. Jackson,
175 F.3d 600 (8th Cir. 1999)(finding that the flight of an individual along with other factors
provided reasonable suspicion for a Terry stop).


       Based on all of the facts known to the law enforcement officers at the time, they had
reasonable suspicion to detain Rush and Short and to prevent Short from leaving the
premises in the gray vehicle. See, e.g., United States v. Scott, 270 F.3d 30 (1st Cir.
2001)(noting that an investigatory stop of an individual who was known to be driving a car
of a suspected check forger); United States v. Price, 184 F.3d 637 (7th Cir. 1999)(finding
police had sufficient individualized suspicion to detain four individuals who occupied a car
that police had been anonymously informed contained cocaine).


       The “incriminating nature” prong of the plain view exception is also met. The
incriminating nature of the objects discovered in the vehicle was readily apparent to the law
enforcement officers. The plain view doctrine “does not authorize police to seize an
innocent object in plain view to see whether it might be a guilty object after all.” United
States v. Cervantes, 19 F.3d 1151, 1153 (7th Cir. 1994)(citing Arizona v. Hicks, 480 U.S.
321, 107 S.Ct. 1149 (1987)). However, when considered in the totality of the circumstances,
the incriminating nature of the objects may be obvious to law enforcement officers. See
United States v. Martinez, 462 F.3d at 908(finding a wad of cash on a suspected bank robber
to be incriminating); see also Carpenter v. Sigler, 419 F.2d 169, 172 (8th Cir. 1969)(finding



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tools in the front seat of a car properly seized under the plain view doctrine because a series
of burglaries had recently taken place near the location where the car was stopped).


       In this case, there is no question that the incriminating nature of the cash, blue plastic
bank bag, TierOne bag, black coveralls, and other items in plain view was obvious to the
law enforcement officials when considered in the context of all the circumstances presented.
Rush, Short, and Cotton met the general description of the bank robbery suspects; they were
observed driving on a road and heading in a direction that law enforcement officers have
identified as a possible escape route; a roll of cash had already been discovered on Rush and
Short’s companion, Cotton; and Short had attempted to flee the scene first by car and then
on foot. See United States v. Martinez, 462 F.3d at 908 (finding a wad of cash on a suspect
meeting the general description of a bank robbery suspect who was walking fast in a location
near the bank to be incriminating); see also United States v. Riascos-Suarez, 73 F.3d 616,
625 (6th Cir. 1996)(abrogated on other grounds)(finding the seizure of “bundles of cash”
in plain view in a suspects vehicle to be valid), United States v. Cervantes, 19 F.3d 1151,
1153 (noting that a wad of cash can be evidence of criminal activity when combined with
other facts). Thus, the “incriminating nature” prong of the plain view doctrine was met.


       Short also elected to abandon the car where no expectation of privacy existed and
where the law enforcement officers were rightfully located. See Hattan, 460 U.S. at 261.
In Hattan, a police officer inspected the interior of a vehicle parked in the lot of a private
nightclub. The Hattan court determined that the officer’s conduct was not a search because
it involved “merely looking at what was already exposed to view” at a public place. Id.
(quoting Arizona v. Hicks, 480 U.S. 321, 328 (1987).


       In this case, Short and Rush could have no expectation of privacy in the items that
could clearly be seen through the car windows once Short abandoned his vehicle in the

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Novartis parking lot. See Hattan, 460 U.S. at 261. The defendants elected to enter the
Novartis parking lot and park the gray car. Later, when law enforcement officials were
attempting to detain Short, Short attempted to flee the parking lot. Short therefore elected
to abandon his vehicle in the Novartis parking lot – a location where law enforcement
officers were rightly present – thus meeting the final prong of the “plain view” exception.
See United States v. Bynum, 508 F.3d at 1137.


       The search of the vehicle was valid for the alternative reason that probable cause was
present. Officers may search a vehicle without a warrant if they have probable cause to
believe the vehicle contains evidence of a crime. See Pennsylvania v. Labron, 518 U.S. 938,
940 (1996). “Probable cause exists when, given the totality of the circumstances, a
reasonable person could believe there is a fair probability that contraband or evidence of a
crime would be found in a particular place.” United States v. Fladten, 230 F.3d 1083, 1085
(8th Cir. 2000)(citing Illinois v. Gates, 462 U.S. 213, 238 (1983)).


       Given the totality of the circumstances in this case, a reasonable law enforcement
officer could conclude there was a fair probability that evidence of a crime would be found
in the vehicle. See United States v. Brown, 345 F.3d 547, 580 (8th Cir. 2003). As detailed
above, the law enforcement officers in this case were faced with individuals who met the
general description of the suspected bank robbers traveling on one of the know exit routes
from the city shortly after the robbery, one of the suspects was found with a wad of cash, and
Short took evasive action once he saw that Cotton and Rush were being detained. The
information gained by the officers quickly escalated the factual basis of the initial encounter
from a consensual encounter between law enforcement officers and citizens to one justifying
a search based on probable cause. See United States v. Ameling, 328 F.3d 443, 448-449
(8th Cir. 2003)(noting that the conduct of the suspects and circumstances present after a



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valid stop presented to a law enforcement officer probable cause for a warrantless search of
the vehicle).


        IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Warren K.
Urbom, United States District Judge, pursuant to 28 U.S.C. § 636(b), that the motions to
suppress filed by Traves Rush, (filing no. 37), and by Marcus Short, (filing no. 43), be denied
in their entirety.

       The parties are notified that failing to file an objection to this recommendation as
provided in the local rules of this court may be held to be a waiver of any right to appeal the
court’s adoption of the recommendation.

       DATED this 4th day of March, 2010.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge




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